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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

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In re Chapter 11

CHECKOUT H()LDING CORP, et al., Case No. 18-12794 (KG)
I}ebtors.l (Jointly Administered)

Final Hearing Date:
January lI, 2019 at 9:00 a.m.

Objection Deadline:
January 4, 2019 at 4:00 p.m.

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NOTICE OF (A) ENTRY OF “INTERIM ORDER PURSUANT TO 11 U.S.C. §§ 105, 361,
362, 363, 364, AND 507 AND BANKRUPTCY RULES 2002, 4001 AND 9014
FOR (I) AUTHORITY TO (A) OBTAIN POST-PETITION SENIOR SECURED
FINANCING, (B) USE CASH COLLATERAL, (C) GRANT ADEQUATE PROTECTION
TO PREPETITION SECURED PARTIES, (D) GRANT LIENS AND SUPERPRIORITY
CLAIMS, AND (E) MODIFY THE AUTOMATIC STAY AND (II) RELATED
RELIEF” AND (B) SCHEDULING OF A FINAL HEARING THEREON

PLEASE TAKE NOTICE that, on Deceinber 12, 2018, Checl<out Holding Corp.
and its affiliated debtors in the above-captioned chapter ll cases, as debtors and debtors in
possession (collectively, the “Debtors”) filed the Motion of Debtors for (I) Authority to (A)
Obtain Postpetition Senior Secured Financing, (B) Use Cash Collateral, (C) Grant
Adcquate Protection to Prepetition Secured Parties, (D) Grant Liens and Superpriority

Claims, (E) Modify the Automatic Stay, and (II) Related Relief [D.l. 30} (the “Financing

 

1 T he Debtors in these chapter ll cases, along with the last four digits of each Debtoi"s federal
tax identification number, are: Catalina l\/Iarketing Corporation (9007); Catalina l\/larketing Procurement,
LLC (9333); Catalina Marl<eting Technology Solutions, lnc. (8728); Catalina l\/Iarketing Worldwide, LLC
(9637); Cellfi:‘e lnc. (5599); Checkout Holding Co:'p. (465l); l\/Iodiv l\/[edia, lnc. (3507); PDM Gi'oup
Holdings Coi‘poi'ation (9148); PDM Holdings Corporation (5025); PDM intermediate Holdings A
Coiporation (6409)', and PDl\/I lntermediate Holdings B Corporation (3278). The Debtors’ principal
offices are located at 200 Carillon Parkway, St. Petersburg, FL 33716.

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Motion”) With the United States Bankruptcy Court for the District of Delaware, 324 North
Market Street, 3)rd Floor, Wilmington, Delaware 19801 (the “Bankruptcy Court”). Pursuant to
the Financing Motion, the Debtors requested entry of interim and final orders (i) authorizing the
Debtors to (a) enter into that certain Sem`or Securea' Super-Prforz`ry Debror-ia-Possession Credir
Agreemenr to obtain postpetition financing, inciuding with respect to an interim borrowing of up
to 360 million, and (b) use Cash Collateral (as such term is defined in ll U.S.C. § 363(a));
(ii) granting adequate protection to prepetition secured lenders as provided herein; (iii) granting
iiens and superpriority claims as provided herein; (iv) modifying the automatic stay; (V)
scheduling a hearing to consider the relief requested herein on a final basis; and (vi) granting
related relief. A copy of the Financing Motion is attached hereto as Exhibit A.

PLEASE TAKE FURTHER NOTICE that, following an initial hearing to
consider the Financing Motion, on December l3, 2018, the Bankruptcy Court entered the
Interim Order Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364, and 507 and Bankruptcy
Rules 2002, 4001 and 9014 For (I) Authority to (A) Obtain Post-Petition Senior Secured
Financing, (B) Use Cash Collateral, (C) Grant Adequate Protection to Prepetition Secured
Parties, (D) Grant Liens and Superpriority Claims, and (E) Modify the Automatic Stay and
(II) Related Rclief [D.I. 106] (the “Interim I)IP Financing Order”). A copy of the Interim
DIP Financing Order is attached hereto as Exhibit B.

PLEASE TAKE FURTHER NOTICE that a further hearing With respect to the
final relief requested in the Financing Motion Will be held on Jamlary ll, 2019 starting at 9:00
a.m. (Eastern Standard Time) (the “Final Hearing”) before The Honorable Kevin Gross at the
Banl<ruptcy Court, 824 North Market Street, 6{{h Floor, Courtroom 3, Wilmington, Delaware

19801.

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PLEASE TAKE FURTHER NOTICE that objections or responses to the final
relief requested in the Financing Motion, if any, must be made in Writing, filed With the
Bankruptcy Court, and served so as to be received by (i) the Office of the United States Trustee
for the District of Delaware, J. Caleb Boggs Federal Building, 844 North King Street, Suite
2207, Wilmington, DE 19801 (Attention: Benjamin A. Hackman, Esq.), (ii) proposed counsel for
the Debtors, Weil, Gotshal & Manges, 767 Sth Ave, New Yorl<, NY 10153', Attn: Gary T.
Holtzer, Esq., Ronit J. Berl<ovich, Esq., and Jessica Lion, Esq.; Richards, Layton & Finger, P.A.,
920 North King Street, Wilmington, DE 19801; Attn: Mark D. Collins, Esq., and Jason M.
Madron, Esq.; (iii) counsel for the DlP Agent and the Prepetition First Lien Agent, Davis Polk &
Wardwell LLP, 450 Lexington Ave, New York, NY l00l7‘, Attn: Brian l\/i. Resnicl<, Esq.; (iv)
counsel for the DIP Lenders and Prepetition First Lien Lenders, lones Day, 250 Vesey Street,
New Yorl<, NY 10281; Attn: Scott Greenberg, Esq., Michael J. Cohen, Esq.; (v) Paul, Weiss,
Rifkind, Wharton & Garrison LLP, 1285 Avenue of the Americas, New York, NY 10019 (Attn:
Brian S. Herrnann, Esq., and Robert A. Britton, Esq.), and Young Conaway Stargatt & Taylor,
LLP, Rodney Square, 1000 North King Street, Wiimington, Delaware, 1980`1 (Attn: Pauiine K.
l\/iorgan, Esq.), as counsel to that certain ad hoc group of Prepetition Second Lien Lenders; (vi)
counsel for any official committee of unsecured creditors appointed in the Debtors’ chapter ll
cases; and (vii) any other party entitled to notice pursuant to rule 9013-f(m) of the Local Rules
of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of
Delaware on or before January 4, 2019 at 4:00 p.m. (Eastern Standard Time).

PLEASE TAKE FURTHER NOTICE that, at the Final Hearing, the Debtors

will seek entry of a Final Order2 Which will include a waiver of rights under 11 U.S.C. §

 

2 Capitalized terms used, but not otherwise defined, herein shall have the same meanings ascribed
to such terms in the interim DIP Financing Order.

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506(e). 11 U.S.C. § 506(¢:) provides that a trustee or debtor may “recover from property
securing an allowed secured claim the reasonable, necessary costs and expenses of
preserving, or disposing of, such property to the extent of any benefit to the holder of such
claim.” As requested in the Financing Motion, the Final Order Will also grant liens on
Avoidance Actions.

PLEASE TAKE FURTHER NOTICE THAT lF NO OBJECTIONS TO THE
FINANCING MOTION ARE TIMELY FlLED, SERVED AND RECEIVED IN
ACCORDANCE WITH THIS NOTICE, THE BANKRUPTCY COURT MAY GRANT THE

FINAL RELIEF R_EQUESTED IN THE FINANCING l\/IOTION WITHOUT FURTHER
NOTICE OR HEARING.

Dated: December 13, 2018
Wilmington, Delaware

  

 

  
 

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Proposed Attorneysfor Debtors
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